         CASE 0:22-cv-00489-ADM-TNL Doc. 19 Filed 05/11/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA

 Joseph Norgren,                                Court File No. 22-CV-00489 (ADM/HB)

                      Plaintiff,

        vs.                                              DEFENDANTS’ MOTION TO
                                                           DISMISS THE AMENDED
 Minnesota Department of Human                                       COMPLAINT
 Services, and Commissioner Jodi
 Harpstead, in her individual capacity,

                      Defendants.

TO:    PLAINTIFF Joseph Norgren, and his attorneys, ECKLAND & BLANDO LLP,
       Daniel J. Cragg, Anne St. Amant, 800 Lumber Exchange Building, 10 South Fifth
       Street, Minneapolis, Minnesota 55402; and UPPER MIDWEST LAW CENTER,
       Douglas P. Seaton, James V. F. Dickey, 8421 Wayzata Boulevard, Suite 300 Golden
       Valley, Minnesota 55426

       Defendants Minnesota Department of Human Services and Commissioner Jodi

Harpstead, in her individual capacity, move the Court to dismiss Plaintiff’s Amended

Complaint for failure to state a claim upon which relief can be granted and for lack of

subject matter jurisdiction.

       This motion is made pursuant to Fed. R. Civ. P. 12(b)(1), (6) and 12(h)(3), and is

based upon the files, records, and proceedings herein, including the memorandum of law

filed and served herewith.

                               Signature on Following Page
               CASE 0:22-cv-00489-ADM-TNL Doc. 19 Filed 05/11/22 Page 2 of 2




Dated: May 11, 2022                          KEITH ELLISON
                                             Attorney General
                                             State of Minnesota

                                            /s/ Kathleen M. Ghreichi
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